   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 1 of 27 PageID #:107




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                           )
 NISHAWN GREEN and                         )
 DEMETRIUS LABON,                          )
                                           )
                        Plaintiffs,        )
                                           )
            v.                             )     Case No. 17-cv-2881
                                           )
 BRIAN D. COLLINS, ROBERT                  )
 GARZA, MICHAEL J. BARZ,                   )
 RYAN J. STEC, ARNOLDO                     )     JURY TRIAL DEMANDED
 RIVERA, JOEL SOTO, DANIEL M.              )
 COJOCNEAN, MARK R. BRONKE,                )
 CARLOS R. RUIZ, NICHOLAS E.               )
 NUNEZ, MICHAEL T. FIETKO,                 )
 and the CITY OF CHICAGO,                  )
                                           )
                        Defendants.        )
                                           )

                                      AMENDED COMPLAINT

       NOW COME Plaintiffs Nishawn Green and Demetrius Labon, by their attorneys and

complaining of the above-named defendants, state as follows:

                                      NATURE OF THE CLAIM

       1.        Members of the Chicago Police Department conducted a needlessly violent raid

on the home of siblings Nishawn Green and Demetrius Labon, without a valid search warrant.

Then, once the police realized that they were in the wrong place—the dwelling they meant to

search was an entirely separate apartment in the same building—they did not retreat from

Plaintiffs’ home. Instead, the police treated Demetrius and Nishawn like criminal suspects,

holding them up against their own kitchen wall while officers completed their search of the

other, separate apartment.


                                                1
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 2 of 27 PageID #:107




        2.      This misconduct violated Demetrius and Nishawn’s right to be free of

unreasonable searches and seizures under the Fourth and Fourteenth Amendments to the United

States constitution, as well as their rights under Illinois common law.

        3.      Demetrius and Nishawn bring this action pursuant to 42 U.S.C. § 1983 and the

laws of the State of Illinois to redress injuries they suffered as a result of this misconduct.

                                  JURISDICTION AND VENUE

        2.      This Court has jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C. §

1331. This Court has jurisdiction over Plaintiffs’ state-law claims pursuant to 28 U.S.C. § 1367

because the events giving rise to the state law claims form part of the same case and controversy

as the claims over which the Court exercises original jurisdiction.

        3.      Venue is proper pursuant to 28 U.S.C. § 1391 because the events giving rise to

this litigation occurred in the Northern District of Illinois.

                                              PARTIES

        5.      Plaintiff Nishawn Green is 24 years old. At the time of the events in question, she

lived with her brother, Demetrius, at 2111 S. Drake Avenue, Apartment 1F, in Chicago.

        6.      Plaintiff Demetrius Labon is 22 years old. At the time of the events in question,

he lived with his sister, Nishawn, at 2111 S. Drake Avenue, Apartment 1F.

        7.      Defendant BRIAN COLLINS (star # 16773) is a member of the Chicago Police

Department. COLLINS swore out the Complaint for Search Warrant upon which the search

warrant at issue in this case was based. COLLINS was also a member of the police team that

executed the search warrant at issue in this case.




                                                   2
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 3 of 27 PageID #:107




        8.      Defendant ROBERT GARZA (star # 1105) is a member of the Chicago Police

Department. He was the supervising sergeant of the police team that executed the search warrant

at issue in this case.

        9.      Defendant MICHAEL J. BARZ (star # 727) is a lieutenant of the Chicago Police

Department. He was a supervising officer of the police team that executed the search warrant at

issue in this case.

        10.     Defendant RYAN STEC (star # 8651) is a member of the Chicago Police

Department. He was a member of the police team that executed the search warrant at issue in

this case.

        11.     Defendant ARNOLDO RIVERA (star # 16152) is a member of the Chicago

Police Department. He was a member of the police team that executed the search warrant at

issue in this case.

        12.     Defendant JOEL SOTO (star # 19351) is a member of the Chicago Police

Department. He was a member of the police team that executed the search warrant at issue in

this case.

        13.     Defendant DANIEL M. COJOCNEAN (star # 15003) is a member of the Chicago

Police Department. He was a member of the police team that executed the search warrant at

issue in this case.

        14.     Defendant MARK R. BRONKE (star # 15695) is a member of the Chicago Police

Department. He was a member of the police team that executed the search warrant at issue in

this case.




                                               3
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 4 of 27 PageID #:107




        15.     Defendant CARLOS R. RUIZ (star # 13526) is a member of the Chicago Police

Department. He was a member of the police team that executed the search warrant at issue in

this case.

        16.     Defendant NICHOLAS E. NUNEZ (star # 13672) is a member of the Chicago

Police Department. He was a member of the police team that executed the search warrant at

issue in this case.

        17.     Defendant MICHAEL T. FIETKO (star # 7513) is a member of the Chicago

Police Department. He was a member of the police team that executed the search warrant at

issue in this case.

        18.     The CITY OF CHICAGO is an Illinois municipality. It operates the Chicago

Police Department, which employs of all the individual defendants.

                                               FACTS

                                 Layout of 2111 S. Drake Avenue

        19.     2111 S. Drake Avenue is a two-story greystone apartment building in Chicago.

The building has five apartments: one unit (Apartment G) is a garden unit and is the only

apartment on the basement/garden level. The building’s first and second floors each have two

apartments in a front-rear arrangement, such that the first floor has apartments “1F” and “1R”

and the second floor has apartments “2F” and “2R.”

        20.     The five apartments are accessed through several different entrances. The front

door of the building, facing Drake Avenue, opens onto a small vestibule, which in turn has two

other doors. The door on the left opens onto stairs leading up to Apartment 2F, and is labeled

with a “2.” The door on the right is the front door of Apartment 1F, and is also labeled. The “1”

decal has fallen off, but the “F” decal remains, and is clearly visible.



                                                  4
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 5 of 27 PageID #:107




       21.     2111 S. Drake’s garden (G) and rear (1R and 2R) apartments are accessed from a

wide gangway running along the south side of the building. There are two doors along the

gangway. The first door, down a flight of stairs, is for Apartment G, and is so labeled.

       22.     The second door, which is halfway down the side of the building and up a flight

of stairs, opens to another, side vestibule. This side vestibule in turn has two doors: the back

door to Apartment 1F, and the front door to Apartment 1R. The door to Apartment 1R is labeled

“1R.” (The side vestibule also has stairs leading up to the same arrangement on the second floor:

the back door to Apartment 2F and the front door to Apartment 2R.)

       23.     While doors for Apartments 1F and 1R both open into the side vestibule, the two

apartments are entirely separate units. Indeed, as the police search of Apartment 1R would

quickly reveal, Apartment 1R’s door facing the side vestibule was barricaded with 2x4s.

       24.     The rear of the building, facing an alley, has a two-story wooden deck-and-stairs

arrangement, and has rear doors for apartments G, 1R, and 2R. There are also five electrical

meters, one for each apartment, on the rear wall of the building.

       25.     That 2111 S. Drake has five apartments is made obvious by the five separate

mailboxes attached to the building’s front fence, along the sidewalk. These mailboxes are

variously labeled with apartment numbers and names of tenants, and are plainly visible to any

person arriving at the building or passing by on the street or sidewalk. Labels on two of the

boxes (to apartments 1F and G) are missing or obscured, but the remaining mailboxes are plainly

labeled “2F,” “2R,” and “1R,” in large, reflective lettering.

       26.     A plaque above 2111 S. Drake’s front door prominently displays the name,

address, and phone number of Letts Property Management, which manages the building.




                                                  5
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 6 of 27 PageID #:107




      Collins obtains search warrant for “[t]he first floor apartment” of 2111 S. Drake

       27.     On February 7 or 8, 2017, COLLINS swore out a Complaint for Search Warrant

for “the first floor apartment located at 2111 S. Drake.”

       28.     In the Complaint for Search Warrant, COLLINS relates that he was told by a “J.

Doe” informant that J. Doe had gone to “the back door” of the first floor of 2111 S. Drake, where

a man named “Pookie” answered, invited J. Doe into his kitchen just inside the back door, and

sold J. Doe illegal drugs there. (J. Doe had also seen other people come to this back door and

apparently buy drugs.) COLLINS goes on to state that he accompanied J. Doe to 2111 S. Drake,

where J. Doe pointed the front and rear of the building and specifically identified the rear door of

the first floor of the building, where J. Doe had entered to buy drugs. The Complaint for Search

Warrant also notes that J. Doe identified “Pookie” as a man named Darren Todd, age 45. The

Complaint for Search Warrant sought a search warrant to seize illegal drugs and other items in

Pookie’s apartment. The Complaint for Search Warrant does not relate that COLLINS, or

anyone else, made any effort to determine how many apartments were in the building, or whether

the first floor had more than one apartment.

       29.     The Complaint for Search Warrant does not relate any information indicating that

“Pookie” or anyone else in the apartment COLLINS proposed to search was armed or that the

informant had seen any guns or weapons, and on information and belief COLLINS received no

such information.

       30.     On the afternoon of February 8, based on the allegations COLLINS made in the

Complaint for Search Warrant, a search warrant was issued for the “First floor apartment of a

two flat apartment building located at 2111 S. Drake Ave., Chicago, Il, Cook County, 60623.”




                                                 6
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 7 of 27 PageID #:107




                  Police execute the search warrant on the wrong apartment

        31.    Nishawn and Demetrius reside in Apartment 1F of 2111 S. Drake, which is a

three-bedroom apartment. From the building’s front vestibule, Apartment 1F’s front door opens

into a living room. From the living room, a hallway leads past the first bedroom, and then to the

kitchen. Doors from the kitchen open onto a bathroom, Demetrius and Nishawn’s separate

bedrooms, and to Apartment 1F’s back door, which, as noted above, opens to the building’s side

vestibule.

        32.    On the evening of February 8, 2017, Demetrius and Nishawn were home in for

the evening. Demetrius was in the kitchen; Nishawn was in her bedroom. Around 7:30 p.m.,

Demetrius heard police banging on Apartment 1F’s front door, stating “Chicago Police Search

Warrant!”

        33.    Demetrius began moving towards the front door to answer, but never got past the

kitchen threshold. Less than three seconds after first announcing themselves (i.e., first uttering

the word “Chicago”), defendant STEC used his battering ram to break down Apartment 1F’s

front door. This was accomplished in less than a second after STEC began hammering the door.

        34.    After STEC broke down the front door of Apartment 1F, several officers rushed

in. These included defendants RIVERA, COLLINS, FIETKO, NUNEZ, RUIZ, SOTO, as well

as non-defendant officers Nicholas Mukite and Ray Sanjuanero, who are not defendants in this

case.

        35.    As they entered the apartment, defendant SOTO, who was carrying a riot shield,

kicked down the door to the apartment’s front bedroom, next to the living room. This action was

entirely unnecessary: nobody was inside the first bedroom and its door, which locks from the




                                                 7
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 8 of 27 PageID #:107




inside, was unlocked. Indeed, after kicking the door and damaging it, video shows officer

opened the door as you normally would, the knob with his hand.

       36.     As they entered the apartment defendant RIVERA, who was in the lead, pointed

an AR-15 style assault rifle at Demetrius, screaming at Demetrius to “Put your fucking hands

up!” and then seconds later, to get on the ground. The other members of the entry team had their

guns drawn and pointed at Demetrius as well. Demetrius complied, first raising his hands and

then getting face-down on the floor. (On information and belief, RIVERA used the AR-15 for

the execution of the warrant at the direction and with the knowledge and consent of defendants

GARZA and/or BARZ.)

       37.     The defendants then stepped over Demetrius and entered the kitchen. Nishawn,

wearing her night clothes, had just entered the kitchen from her back bedroom after hearing the

commotion. Pointing guns at Nishawn, including RIVERA’s AR-15, the defendants ordered her

to the kitchen floor as well. She complied, and went to her knees on the floor.

       38.     Within seconds of entering Apartment 1F, the officers realized that they were in

the wrong apartment. Even as he was getting down on the floor, Demetrius told the officers that

they had entered the “wrong door,” indicating that they should have gone to Apartment 1R. The

officers quickly swept through Apartment 1F, which was tidy and neatly furnished, realized they

were in the wrong dwelling, and stopped searching it.

       39.     Upon the realization that they were in the wrong unit—which came seconds after

the officers had first entered Apartment 1F—defendants RIVERA, COLLINS, and RUIZ entered

the building’s side vestibule, and the door to Apartment 1R, which is labeled. In the vestibule,

the three officers began cursing—one, gesturing to the door of Apartment 1R (which was

labeled, “1R”), said, “This has got to be it. Fuck!”



                                                 8
    Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 9 of 27 PageID #:107




        40.    RIVERA, COLLINS, and RUIZ then asked the other officers, who were still in

Apartment 1F, to get the battering ram so that they could enter Apartment 1R. Once the

battering ram was procured the officers broke down the door to Apartment 1R and entered it to

conduct their search in that apartment.

        41.    Realizing that they had entered Apartment 1F incorrectly and that the search

warrant was really for Apartment 1R, the officers should have immediately vacated Apartment

1F and left Demetrius and Nishawn alone. And on information and belief, some of the

officers—including non-defendant officers Nicholas Mukite and Ray Sanjuanero—did leave

Apartment 1F shortly after the police realized they were in the wrong dwelling.

        42.    Others, however, did not. Instead they stayed behind, handcuffed Demetrius, and

held Demetrius and Nishawn against their will in their own kitchen; or re-entered the Apartment

1F later, for no legitimate purpose. These officers included NUNEZ, FIETKO, STEC, and

RUIZ.

        43.    Meanwhile, a second group of officers had been stationed outside the building

during the initial police entry into Apartment 1F, but then entered Apartment 1F later, after all

the officers participating in the search warrant knew it was the wrong apartment. These officers

included GARZA, BARZ, BRONKE, and COJOCNEAN.

        44.    The conduct described above was recorded on body cameras worn by many of the

officers who took part in the execution of the search warrant. That recorded footage shows the

following:

        a.     NUNEZ. Defendant NUNEZ was part of the team that originally entered

        Apartment 1F, and he is the officer who cuffed Demetrius. Nunez, however, placed

        Demetrius in handcuffs after the police realized that they were in the wrong apartment



                                                 9
Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 10 of 27 PageID #:107




   and had already begun trying to enter Apartment 1R. Then, as the police had applied a

   battering ram to Apartment 1R’s door and were preparing to enter Apartment 1R, Nunez

   pulled Demetrius off the ground by one arm, such that much of Demetrius’s body weight

   was raised by the handcuffs, causing Demetrius needless pain. NUNEZ did not leave

   Apartment 1F thereafter, nor did he uncuff Demetrius. Instead he remained for several

   minutes, and, having ordered Nishawn and Demetrius to stand against their kitchen wall,

   he told defendant COJOCNEAN to “keep an eye on” Plaintiffs while NUNEZ went into

   Apartment 1R. NUNEZ did not uncuff Demetrius until he returned from Apartment 1R

   several minutes later. Later on, NUNEZ left Apartment 1R to go to one of the squad

   cars. Instead walking from Apartment 1R outside along the building’s gangway,

   however, he used Apartment 1F as a shortcut, walking through it to get to the vehicle.

   b.     GARZA. Defendant GARZA was the Sergeant in charge of the execution of the

   search warrant. When police first entered Apartment 1F, GARZA was stationed outside

   the back of the building, and was in communication with the officers entering Apartment

   1F via radio. Less than two minutes after the officers first entered 1F, they radioed Garza

   to tell him there were two separate apartments. In response Garza can be heard to

   exclaim, “Oh there are two separate apartments? What the fuck.” A minute later Garza

   entered the building through the side vestibule, walked past the open door of Apartment

   1R, and poked his head into the back door of Apartment 1F, observing, “Yeah, this is

   separate.” There were at least four officers inside of Apartment 1F at this time, but

   GARZA did not tell any of them to leave. Instead, he left Apartment 1F for Apartment

   1R, and busied himself with the search of that apartment. He re-entered Apartment 1F




                                           10
Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 11 of 27 PageID #:107




   more than 20 minutes later, only after the search of Apartment 1R was substantially

   complete. Only then did he give Nishawn and Demetrius permission to close their doors.

   c.     BRONKE. Like GARZA, defendant BRONKE was stationed outside during the

   initial entry into Apartment 1F. On information and belief, he heard the same

   transmission as GARZA, and could hear GARZA exclaim, “Oh there are two separate

   apartments? What the fuck.” Moments later, while still outside the building, BRONKE

   informed COJOCNEAN, “Apparently there’s two separate apartments.” Despite this, a

   short time later BRONKE walked in and out of Apartment 1F several times, assisting

   other officers in obliging Nishawn and Demetrius to remain against their kitchen wall.

   d.     COJOCNEAN. Defendant COJOCNEAN was also stationed outside during the

   initial entry into Apartment 1F. Several minutes after police first entered Apartment 1F,

   BRONKE informed COJOCNEAN, “Apparently there’s two separate apartments.”

   Despite this information, moments later, COJOCNEAN walked into the open front door

   of Apartment 1F, which was clearly the “other” apartment. Working with other

   defendants, including NUNEZ, COJOCNEAN then continued holding Demetrius and

   Nishawn up against their kitchen wall. He did this even though Demetrius and Nishawn

   were in thin clothing on a cold winter night, and the police had left both the front and

   back doors to Apartment 1F open. At one point Demetrius complained about the cold,

   but COJOCNEAN and the other defendants, who were all in warm clothes, made no

   effort to help him.

   e.     BARZ. Defendant BARZ entered Apartment 1F after the entry team, and he

   remained there long after other officers in BARZ’s presence—including GARZA—had

   observed that it was a separate apartment that was plainly not the subject of the search



                                            11
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 12 of 27 PageID #:107




        warrant. During that time BARZ assisted in keeping Demetrius and Nishawn against

        their kitchen wall. He also walked into different rooms of Apartment 1F. BARZ is a

        lieutenant, but at no point did he order any of the other officers in Apartment 1F to retreat

        from it.

        f.         FIETKO. Officer FIETKO was among the officers who originally entered

        Apartment 1F. He did not leave Apartment 1F immediately after the police realized they

        were in the wrong place. Instead he remained in the apartment for several minutes,

        loitering in the kitchen and peering into closets, even after officers had broken down the

        door to Apartment 1R and begun conducting their search there.

        g.         RUIZ. Officer RUIZ was among the officers who originally entered Apartment

        1F. He initially left Apartment 1F for Apartment 1R soon after the police realized they

        were in the wrong place, but then re- entered Apartment 1F for no legitimate purpose,

        and remained there for several minutes.

        h.         STEC. Officer STEC, who was part of the police entry team into Apartment 1F,

        originally left Apartment 1F as part of the officers’ initial entry into Apartment 1R.

        Several minutes later, however, STEC entered Apartment 1F at least twice, after the

        officers knew it was not a target of the search.

        45.        As summarized above, at the direction and with the knowledge and consent of

GARZA and/or BARZ, multiple police officers entered, walked through, or stayed in Apartment

1F, ordering Nishawn and Demetrius to remain against their kitchen wall and holding them there,

against their will.

        46.        Throughout this time, the siblings asked the officers defendant to explain why the

police were in their home, and demanded to be provided with a copy of any search warrant that



                                                   12
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 13 of 27 PageID #:107




justified their presence in the home. The defendants did not respond, and did not produce a

search warrant.

       47.     Around half an hour after first entering Apartment 1F, the police were concluding

their search of Apartment 1R. Only then did they also leave Apartment 1F, and allow Demetrius

and Nishawn off the kitchen wall. The defendants never presented the siblings with a search

warrant or any other documentation of the raid. They did not charge either Demetrius or

Nishawn with any crime, suggest that they had ever been suspected of criminal activity, or

suggest that they had ever been lawfully detained.

       48.     The Plaintiffs suffered damages as a result of the search. The front door to

Apartment 1F was damaged, as was the door to the front bedroom. The defendants made no

effort to repair what they had broken. Living in an apartment that had been damaged in this way

was humiliating for Nishawn and Demetrius.

       49.     The defendants’ conduct of the raid was also emotionally damaging. Demetrius

and Nishawn were in the sanctuary of their home for the evening when heavily armed, shouting

men burst into their home and pointed an assault rifle in their faces. Such an event is terrifying

enough on its own; it also placed Demetrius and Nishawn in reasonable fear that they might be

killed if they made any inadvertent move that the defendants misinterpreted as threatening.

       50.     The event was particularly traumatizing because Demetrius and Nishawn have

been victims of gun violence. Their mother was murdered several years ago, when the siblings

were teenagers; Nishawn was the one who found her mother’s body, shot to death in a

car. Being threatened by armed men at gunpoint during the unlawful entry and search of their

home was traumatizing and emotionally damaging to both Demetrius and Nishawn.




                                                13
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 14 of 27 PageID #:107




       51.     Demetrius and Nishawn were also humiliated by the invasion into their home, as

well as by having strangers in their home who forced them to lie on their own floor and then to

get up against their own kitchen wall, for no reason.

       52.     Nishawn in particular was humiliated by being forced to stand in front of male

strangers in her nightclothes in her own home.

       53.     Demetrius was handcuffed after the police realized they were in the wrong

apartment, and then was pulled up by the handcuffs shortly later, when police were entering

Apartment 1R, the unit they meant to search. He was not unhandcuffed for several more

minutes. His handcuffing—and the failure to uncuff him promptly—was entirely unnecessary

and unjustified.

       54.     At the time of the execution of the search warrant, the temperature in Chicago

was 21° F, and because of the humidity it felt even colder, with a wind chill of 10° F. Nishawn

was in thin night clothes, and Demetrius was in a tank top. Yet the defendants—who were all

warmly clad—did not close the doors to Apartment 1F during their entire occupation of the unit,

nor did they allow Nishawn or Demetrius to put on warmer clothes. The defendants’ body

camera videos show that Demetrius and Nishawn were uncomfortable during the search, with

both visibly hugging themselves in an effort to stay warm. The cold temperature caused

Nishawn and Demetrius significant, needless pain.

       55.     After the police eventually left 2111 S. Drake, Demetrius and Nishawn’s front

door remained badly damaged from being knocked in by defendant STEC, and could not be

closed properly. As a result, Demetrius and Nishawn had to live in a home without a properly-

closing front door in North Lawndale, one of the most dangerous and crime-plagued




                                                 14
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 15 of 27 PageID #:107




neighborhoods in Chicago. Left with essentially no defense against intruders, Demetrius and

Nishawn were left in significant fear for their safety.

       56.     The individual defendants’ acts and omissions described herein were objectively

unreasonable. They were also willful, wanton, malicious, oppressive, and done with reckless

indifference and callous disregard for the rights of others, and justify the awarding of exemplary

and punitive damages.

       57.     In all the acts and omissions described herein, the individual defendants were

acting within the scope of their employment for their employer, defendant the CITY OF

CHICAGO.

                                             COUNT I

                               42 U.S.C. § 1983 - Invalid Warrant

       58.     Each paragraph of this complaint is incorporated as if fully restated here.

       59.     Before setting in motion a dangerous and terrifying militarized police raid,

COLLINS had a duty to discover whether he was identifying the right place to be searched, and

not the dwelling of some innocent third party. He utterly failed to do this, resulting in precisely

the kind of invasion of Demetrius and Nishawn’s home that the Fourth Amendment is designed

to prevent.

       60.     When he swore out the Complaint for Search Warrant, COLLINS knew or should

have known that there was more than one unit on the first floor of 2111 S. Drake, and that there

was only probable cause to believe that the rear first floor unit, Apartment 1R, could be a proper

target for any search.

       61.     The information that COLLINS received from the J. Doe informant provided no

information about whether or not the first floor of 2111 S. Drake contained more than one unit.



                                                 15
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 16 of 27 PageID #:107




Rather, J. Doe indicated only that he or she had entered “Pookie’s” apartment from the

building’s rear, and that he or she had only entered the apartment as far as the kitchen, which was

immediately inside the rear door. J. Doe thus provided no meaningful information regarding

whether the building’s entire first floor was made up only of one unit, or more. The limited

nature of the information provided by the J. Doe informant should have prompted COLLINS to

make further efforts to determine how many apartments were contained on the building’s first

floor.

         62.   Furthermore, even a passing view of the front of the building (which COLLINS

stated in the Complaint for Search Warrant that he had seen) would have alerted a reasonable

person that the first floor contained more than one unit. The mailboxes for 2111 S. Drake are

clearly visible from the street and sidewalk, and there are five such mailboxes, indicating five

apartments. The labeling of the “1R” mailbox, the “2F” and “2R” mailboxes, and the existence

of the two additional unlabeled mailboxes, should have made it obvious to COLLINS that there

were multiple units on each floor, and that in particular the first floor of the building, which

evidently had a “rear” (i.e., “1R”) apartment, contained more than one unit. At a minimum, the

mailboxes should have alerted COLLINS that he needed to determine whether the first floor of

2111 S. Drake contained one unit, or more.

         63.   Likewise, the presence of five utility meters on the rear of the two-story

building—which COLLINS also stated he had surveilled with the J. Doe informant—should also

have alerted COLLINS that he needed to take some step to discover how many apartments were

on the first floor, rather than simply assuming there was only one.

         64.   Such an inquiry would have been easy for COLLINS to make. For one thing the

“1R” mailbox was there for all to see, and in light of the information provided by J. Doe, it



                                                 16
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 17 of 27 PageID #:107




indicated that Pookie lived in an Apartment 1R, i.e., a unit in the rear—not the front—of the first

floor. For another, if COLLINS had bothered to contact Letts Property Management, whose

name, phone number, and contact information are prominently displayed above the building’s

front entrance, he would have learned that there were indeed two units on the building’s first

floor. In the same manner, COLLINS also could have contacted the utility companies and

learned that there were two units on the first floor. Furthermore, the Chicago Police Department

subscribes to information sources, like Accurint, that help officers identify apartments and

persons residing in them. Had COLLINS bothered to use such sources of information, he would

have learned that 2111 S. Drake has two units on the first floor.

       65.     COLLINS did not conduct any such investigation, however, or cause one to be

conducted.

       66.     Given the information available to him at the time he swore out the Complaint for

Search Warrant, COLLINS either knew or should have known that the first floor of 2111 S.

Drake contained more than one unit, and he should have disclosed that information to the

magistrate issuing the search warrant. He failed do this, however.

       67.     COLLINS’s failure to discover and disclose that the first floor contained more

than one unit was either intentional or reckless, and as a result the magistrate was misled into

believing that there was probable cause to search the entire first floor of 2111 S. Drake, when in

fact there was not.

       68.     As a result, the February 8, 2017 warrant to search “the first floor” of 2111 S.

Drake was invalid when it was issued. There was no valid warrant to search Apartment 1F, and

the search of that apartment was not conducted pursuant to a valid warrant.




                                                 17
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 18 of 27 PageID #:107




       69.     COLLINS’s acts and omissions were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others.

They justify the awarding of exemplary and punitive damages.

       70.     On information and belief, COLLINS’s shoddy and inadequate investigation was

conducted at the direction and with the knowledge and consent of GARZA and/or BARZ.

       71.     By reason of these acts and omissions, Plaintiffs were deprived of the rights,

privileges, and immunities secured to them by the Fourth and Fourteenth Amendments to the

U.S. Constitution, and they suffered damages to their property, emotional injuries, and

humiliation, as described in this complaint. Therefore COLLINS and GARZA and/or BARZ are

liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                            COUNT II

              42 U.S.C. § 1983 – Unreasonable Search – Knock-and-Announce

       72.     Each paragraph of this complaint is incorporated as if fully restated here.

       73.     Defendant STEC waited less than three seconds from the time the officers first

announced their identities and intentions before breaking down the front door to Apartment 1F—

with the announcement of “Chicago Police, search warrant!” coming within those three seconds.

       74.     At the time STEC applied the battering ram to the front door of Apartment 1F,

there was no indication that the occupants of the unit would deny the police entry, or that they

were attempting to destroy the drugs that were the target of the search.

       75.     STEC did not wait a reasonable amount of time to determine whether the police

were being refused admission to Apartment 1F before breaking down its door.

       76.     If STEC had waited a reasonable amount of time before breaking down the front

door of Apartment 1F, Demetrius, who had started moving from the kitchen to answer the front



                                                 18
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 19 of 27 PageID #:107




door, would have answered it, avoiding any need to break down the door and the violent entry

that followed.

       77.       After STEC broke down Apartment 1F’s front door, he and the defendant officers

on the entry team, including RIVERA, COLLINS, FIETKO, NUNEZ, RUIZ, and SOTO, entered

the apartment immediately, yelling with guns drawn. This entry was unreasonable for the same

reason, that the officers did not wait a reasonable time after announcing their presence to enter

Apartment 1F. Had they waited a reasonable time they would have been granted entry by

Demetrius, who had started moving to the front door when it was broken down and the officers

entered.

       78.       The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

       79.       By reason of the acts and omissions of the defendant officers, Plaintiffs were

deprived of the rights, privileges, and immunities secured to them by the Fourth and Fourteenth

Amendments to the U.S. Constitution, and they suffered humiliation and emotional injuries,

which are described elsewhere in this complaint.

       80.       Therefore defendants STEC, RIVERA, COLLINS, FIETKO, NUNEZ, RUIZ, and

SOTO are liable to Plaintiffs pursuant to 42 U.S.C. § 1983 for unreasonable entry and search

under the Fourth Amendment.

                                             COUNT III

                    42 U.S.C. § 1983 – Fourth Amendment - Excessive Force

       81.       Each paragraph of this complaint is incorporated as if fully restated here.




                                                  19
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 20 of 27 PageID #:107




        82.    Defendant RIVERA employed excessive force in using an AR-15 rifle in the raid.

The defendants had no indication that anyone in the apartment was armed, and the use of the

RIVERA’s assault weapon, along with the violent, swat-style entry into the apartment, was

unnecessary and unreasonable under the circumstances. Defendants GARZA and/or BARZ

knew of, directed, and gave consent to RIVERA to use the AR-15 in the execution of the

warrant.

        83.    As a result of the unreasonable conduct of defendants RIVERA and GARZA

and/or BARZ, Demetrius and Nishawn were needlessly subject to a terrifying, paramilitary-style

raid.

        84.    Defendant NUNEZ employed excessive and unreasonable force in handcuffing

Demetrius after the police had realized they were in the wrong apartment; in then lifting

Demetrius up in a manner that much of his body’s weight rested on the handcuffs while the

police were entering Apartment 1R; and in failing to uncuff Demetrius for several minutes.

        85.    Defendant SOTO employed excessive force in kicking and damaging the door to

the front bedroom unnecessarily and in an unreasonable manner.

        86.    The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

        87.    By reason of the acts and omissions of the defendant officers, Plaintiffs were

deprived of the rights, privileges, and immunities secured to them by the Fourth and Fourteenth

Amendments to the U.S. Constitution, and they suffered pain, humiliation and emotional

injuries, which are described elsewhere in this complaint.




                                                20
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 21 of 27 PageID #:107




       88.     Therefore defendants RIVERA, NUNEZ, SOTO, and GARZA and/or BARZ are

liable to Plaintiffs pursuant to 42 U.S.C. § 1983 for use of unreasonable and excessive force

under the Fourth and Fourteenth Amendments.

                                           COUNT IV

    42 U.S.C. § 1983 - Failure to Retreat from Apartment 1F and Unreasonable Seizure

       89.     Each paragraph of this complaint is incorporated as if fully restated here.

       90.     As soon as they knew or should have known that Apartment 1F and Apartment

1R were separate units and that they did not have a warrant to enter or search Apartment 1F,

each police officer participating in the execution of the search warrant should have retreated

from Apartment 1F immediately, and left Demetrius and Nishawn alone.

       91.     Some officers, including non-defendants Mukite and Sanjuanero, did so retreat.

       92.     Numerous defendant officers did not, however. Instead, at the direction and with

the knowledge and consent of GARZA and/or BARZ, numerous officers entered (or did not

immediately retreat from) Apartment 1F, and assisted each other in forcing Demetrius and

Nishawn to remain up against the wall of their own kitchen, for the duration of the defendants’

search of an entirely separate unit, Apartment 1R. These officers included NUNEZ, FIETKO,

STEC, RUIZ, GARZA, BARZ, BRONKE, and COJOCNEAN.

       93.     The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

       94.     By reason of the acts and omissions of the defendant officers, Plaintiffs were

deprived of the rights, privileges, and immunities secured to them by the Fourth and Fourteenth




                                                21
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 22 of 27 PageID #:107




Amendments to the U.S. Constitution, and they suffered humiliation and emotional injuries,

which are described elsewhere in this complaint.

       95.     Therefore defendants NUNEZ, FIETKO, STEC, RUIZ, GARZA, BARZ,

BRONKE, and COJOCNEAN are liable to Plaintiffs pursuant to 42 U.S.C. § 1983 for violation

of Plaintiffs’ rights under the Fourth and Fourteenth Amendments.

                                            COUNT V

                             42 U.S.C. § 1983 - Failure to Intervene

       96.     Each paragraph of this complaint is incorporated as if fully restated here.

       97.     In the manner described above, during the constitutional violations described

herein, each of the officer defendants—NUNEZ, FIETKO, STEC, RUIZ, GARZA, BARZ,

BRONKE, RIVERA, COLLINS, and COJOCNEAN—stood by without intervening to prevent

the violation of the Plaintiffs’ constitutional rights, even though they had an opportunity to do so.

       98.     As a result of the individual defendants’ failure to intervene to prevent the

violation of Plaintiffs’ constitutional rights, Plaintiffs suffered property damage, emotional

injury, and humiliation. The individual defendants had ample, reasonable opportunities to

prevent this harm, but failed to do so.

       99.     The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

       100.    By reason of the acts and omissions of the defendant officers, Plaintiffs were

deprived of the rights, privileges, and immunities secured to them by the Fourth and Fourteenth

Amendments to the U.S. Constitution. Therefore defendants NUNEZ, FIETKO, STEC, RUIZ,




                                                 22
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 23 of 27 PageID #:107




GARZA, BARZ, BRONKE, RIVERA, COLLINS, and COJOCNEAN are liable to Plaintiffs

pursuant to 42 U.S.C. § 1983.

                                               COUNT V

                                         State Law – Trespass

       101.       Each paragraph of this complaint is incorporated as if fully restated here.

       102.       Plaintiffs had a possessory right to Apartment 1F, including the right to exclude

entry by others.

       103.       Defendants NUNEZ, FIETKO, STEC, RUIZ, GARZA, BARZ, BRONKE, and

COJOCNEAN intentionally made unauthorized entry, without permission, into Apartment 1F.

       104.       The individual defendants also conspired and agreed to intentionally remain in

Apartment 1F, without authorization, and each of them did do so.

       105.       The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

       106.       All of the defendants committed these tortious acts and omissions in the course of

their employment by defendant CITY OF CHICAGO, and the CITY OF CHICAGO is therefore

liable for their acts under the doctrine of respondeat superior.

       107.       Plaintiffs suffered injuries as a result of the trespass, as described elsewhere in

this complaint.

                                               COUNT VI

                                   State Law - False Imprisonment

       108.       Each paragraph of this complaint is incorporated as if fully restated here.




                                                    23
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 24 of 27 PageID #:107




       109.    As described more fully herein, defendants NUNEZ, FIETKO, STEC, RUIZ,

GARZA, BARZ, BRONKE, and COJOCNEAN intentionally confined Nishawn and Demetrius,

without authority, to boundaries not of the Plaintiffs’ choosing.

       110.    Demetrius and Nishawn did not consent to these restraints. Rather they were

impelled by the defendants’ show of unfounded assertion of authority and implicit threat of

violence.

       111.    Demetrius and Nishawn were conscious of the confinement and were harmed by

it, as described elsewhere in this complaint.

       112.    The defendants’ acts and omissions directly and indirectly resulted in the

Plaintiffs’ confinement.

       113.    The acts and omissions described herein were objectively unreasonable and were

undertaken intentionally, with malice, and with reckless indifference to the rights of others, and

justify the awarding of exemplary and punitive damages.

       114.    All of the defendants committed these tortious acts and omissions in the course of

their employment by defendant CITY OF CHICAGO, and the CITY OF CHICAGO is therefore

liable for their acts under the doctrine of respondeat superior.

                                           COUNT VII

                                       State Law – Battery

       115.    Each paragraph of this complaint is incorporated as if fully restated here.

       116.    In handcuffing Demetrius after the police realized that they were in the wrong

apartment, NUNEZ did a willful and intentional act, intended to cause unpermitted touching of

Demetrius by both NUNES himself and by the handcuffs. This battery continued until the

handcuffs were removed.



                                                 24
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 25 of 27 PageID #:107




        117.      In lifting Demetrius up without uncuffing him as the police entered Apartment

1R, NUNEZ did a willful and intentional act, intended to cause unpermitted touching of

Demetrius by NUNEZ himself and by the handcuffs.

        118.      NUNEZ’s acts and omissions described herein were objectively unreasonable

and were undertaken intentionally, with malice, and with reckless indifference to the rights of

others, and justify the awarding of exemplary and punitive damages.

        119.      NUNEZ committed these tortious acts and omissions in the course of his

employment by defendant CITY OF CHICAGO, and the CITY OF CHICAGO is therefore liable

for their acts under the doctrine of respondeat superior.

        120.      Demetrius suffered injuries as a result of the trespass, as described elsewhere in

this complaint.

                                             COUNT VIII

                                  State Law – Respondeat Superior

        121.      Each paragraph of this complaint is incorporated as if fully restated here.

        122.      While engaging in the conduct described herein, the individual defendants were

employees of the CITY OF CHICAGO, acting at all times within the scope of their employment.

        123.      The CITY OF CHICAGO is liable as principal for torts committed by its agents.

                                              COUNT IX

                                     State Law – Indemnification

        124.      Each paragraph of this complaint is incorporated as if fully restated here.

        125.      Illinois law provides that public entities are directed to pay any judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.



                                                   25
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 26 of 27 PageID #:107




       126.    All the individual defendant officers were employees of the CITY OF CHICAGO,

acting at all relevant times within the scope of their employment in committing the misconduct

described herein

       WHEREFORE, Plaintiffs Nishawn Green and Demetrius Labon respectfully request

that this Court enter a judgment in their favor and against defendants COLLINS, GARZA,

STEC, RIVERA, SOTO, NUNEZ, FIETKO, STEC, BARZ, BRONKE, COJOCNEAN, and the

CITY OF CHICAGO, awarding compensatory damages, attorneys’ fees, and costs against each

defendant, punitive damages against each of the individual defendants, and any other relief this

Court deems just and appropriate.

                                       JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), plaintiffs Nishawn Green and

Demetrius Labon hereby demand a trial by jury on all issues so triable.

                                                  Nishawn Green
                                                  Demetrius Labon

Dated: November 21, 2017

                                                  By: /s/ Stephen H. Weil
                                                      One of Plaintiffs’ attorneys

                                                  Stephen H. Weil – steve@weilchardon.com
                                                  Alexis G. Chardon – ali@weilchardon.com
                                                  Weil & Chardon LLC
                                                  333 S. Wabash Ave.
                                                  Suite 2700
                                                  Chicago, IL 60604
                                                  (312) 585-7404

                                                  Attorneys for Plaintiffs Nishawn Green and
                                                  Demetrius Labon




                                               26
   Case: 1:17-cv-02881 Document #: 27 Filed: 11/21/17 Page 27 of 27 PageID #:107




                                 CERTIFICATE OF SERVICE
        I hereby certify that on November 21, 2017, a true and correct copy of the foregoing was
filed electronically. Notice of this filing is sent by operation of the Court’s ECF electronic filing
system to all parties indicated on the electronic filing receipt. Parties may access this filing
through the Court’s electronic filing system.


                                                      /s/ Stephen H. Weil
